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Richard Eppink (ISB no. 7503)                        Erika Birch (ISB no. 7831)
reppink@acluidaho.org                                erika@idahojobjustice.com
Aadika Singh (ISB no. 11676)                         Lauren Scholnick (ISB no. 7579)
asingh@acluidaho.org                                 lauren@utahjobjustice.com
AMERICAN CIVIL LIBERTIES                             STRINDBERG SCHOLNICK
UNION OF IDAHO FOUNDATION                            BIRCH HALLAM HARSTAD
P.O. Box 1897                                        THORNE
Boise, Idaho 83701                                   1516 W Hays Street
(208) 344-9750, ext. 1202                            Boise, Idaho 83702
(208) 336-1788

Attorneys for the Plaintiff

                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

 JAX PEREZ,                                            Case No. 1:21-cv-00251

                        Plaintiff,
                                                   MOTION TO DISMISS SARAH
         v.                                        KELLEY-CHASE AND SARAH
                                                   MARTIN
 CITY OF BOISE, and KEVIN BOOE,
 SARAH KELLEY-CHASE, and SARAH
 MARTIN, in their individual capacities, and
 JANE/JOHN DOEs 1-6, whose true names
 are unknown, in their individual capacities,

                        Defendants.


       Plaintiff, by and through their counsel of record, pursuant to Rule 41(a)(2), Fed. R. Civ.

P., hereby moves the Court for an Order of Dismissal of all claims asserted against Sarah Kelley-

Chase and Sarah Martin, only, with prejudice, the parties to bear their respective costs and

attorneys fees.

       DATED this 23rd day of September, 2022.

                                             By: /s/ Richard Eppink
                                                     Richard Eppink
                                                     AMERICAN CIVIL LIBERTIES UNION
                                                     OF IDAHO FOUNDATION
                                                     Attorney for Plaintiff


MOTION TO DISMISS SARAH KELLEY-CHASE AND SARAH MARTIN - 1
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 23rd day of September, 2022, I filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

Daniel E. Williams
dwilliams@idalaw.com

Erika P. Judd
ejudd@idalaw.com

Attorneys for Defendants


                                    DATED this 23rd day of September, 2022


                                           /s/ Richard Eppink
                                           Richard Eppink




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